
PER CURIAM.
The trial court erred by sentencing the defendant to less than the mandatory minimum sentence required for a sale of cocaine within 1,000 feet of a school. We reverse and remand for a resentencing to the mandatory minimum sentence. See State v. Vola, 591 So.2d 248 (Fla. 4th DCA 1991). See also State v. Baumgardner, 587 So.2d 1147 (Fla. 4th DCA 1991); State v. Scates, 585 So.2d 885 (Fla. 4th DCA 1991); State v. Baxter, 581 So.2d 937 (Fla. 4th DCA 1991).
GUNTHER and STONE, JJ., concur.
ANSTEAD, J., concurs specially with opinion.
